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 1      DECLARATION OF SUPERVISORY SPECIAL AGENT JESSIE MURRAY
 2         I, Supervisory Special Agent Jessie Munay, declare as follows:
 3         1.    I am a Supervisory Special Agent with the FBI.
 4         2.    On May 20, 2021, the FBI sent notice letters to persons with an interest in
 5   the contents of box numbers 5006, 6710, 4300, 400 and 40, advising of the FBI's
 6   commencement of administrative forfeiture proceedings as to the contents of those
 7   boxes. The notice letters included May 20, 2021 letters to an individual for the $274,030
 8   seized from box number 5006 (a true and conect redacted copy of which is attached
 9   hereto as Exhibit A), and to an individual for the $330,020 seized from box number 4300
10   (a true and conect redacted copy of which is attached hereto as Exhibit B).
11         3.    In addition, the FBI sent a notice letter advising of the commencement of
12   administrative forfeiture proceedings on May 20, 2021 to US Private Vaults, with
13   respect to the $199,950 seized from box number 6710, the $570,000 seized from box
14   number 400, and the $1,194,750 seized from box number 40. Attached hereto as
15   Exhibit C is a true and conect redacted copy of pages 1-3, 6 and 7 of the 18-page notice
16   letter, which reflects the $199,950 seized from box number 6710, the $570,000 seized
17   from box number 400, and the $1,194,750 seized from box number 40 (and the redacted
18   copy also reflects box numbers 5006 and 4300, as set forth in paragraph 2 above).
19         4     The FBI has received claims to contest forfeiture as to these boxes, but
20   those claims were filed using pseudonyms and not in the claimants' actual names. The
21   dates that the FBI received the pseudonym claims are June 16, 2021 as to the $274,030
22   (FBI Asset ID No. 21-FBI-002956) in box number 5006; and June 21, 2021 as to the
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    1   $199.500 (FBI Asset ID No. 21-FBI-002922) in box 6710, the $330,020 (FBI Asset ID
    2   No. 21-FBI-003183) in box number 4300, the $570,000 (FBI Asset ID No. 21-FBI-
    3   003154) in box number 400 and the $1,194,750 (FBI Asset ID No. 21-FBI-002965) in
    4   box number 40.
    5         I declare under penalty of pe1jmy under the laws of the United States of America
    6   that the foregoing is true and conect.
    7         Executed in Los Angeles, California on July   dJ, 2021.

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